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            EXHIBIT B-18
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                                   UNDER SEAL

                              DCCA No. 21-BS-0059

                           DISTRICT OF COLUMBIA
                              COURT OF APPEAL

_______________________________
                                   :
In the Matter of                   :
                                   :
Confidential (J.B.C.),             :          Disciplinary Docket No. 2021-D193
                                   :
      Respondent                   :
                                   :
A Member of the Bar of the District :
  of Columbia Court of Appeals     :
_______________________________:

                              MOTION TO UNSEAL

      On February 3, 2022, Disciplinary Counsel filed a Motion to Enforce

Subpoena Duces Tecum with respect to Mr. Clark. The Motion was filed, and

accepted by the Court under seal. At the time, no charges had been filed against Mr.

Clark. DCCA Rule XI, § 17(a) provides that disciplinary proceedings are to be kept

confidential until a petition has been filed. On July 19, 2022, a petition and a

specification of charges against Mr. Clark was filed with the Board on Professional

Responsibility. Mr. Clark was served on July 22, 2022. While Disciplinary Counsel

still seeks enforcement of its subpoena in order to use the subpoenaed documents in

the pending proceeding, this matter should no longer be under seal. The requirement

of confidentiality ends with the filing of charges.
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      WHEREFORE, this motion should be granted and the pleadings that have

been filed in this matter, and any subsequent filings, should be matters of public

record.

                                     Respectfully submitted,

                                     Hamilton P. Fox, III
                                     ______________________________
                                     Hamilton P. Fox, III
                                     Disciplinary Counsel
                                     Bar Registration No. 113050

                                     /s/ Jason R. Horrell
                                     Jason R. Horrell
                                     Assistant Disciplinary Counsel
                                     Bar Registration No. 1033885

                                     OFFICE OF DISCIPLINARY COUNSEL
                                     515 Fifth Street, N.W.
                                     Building A, Room 117
                                     Washington, D.C. 20001
                                     (202) 638-1501




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 4th day of August 2022, I caused a copy of the

foregoing Motion to Unseal to be served to Respondent’s counsels via email to Harry

W. MacDougald, Esquire hmacdougald@CCEDlaw.com, to Charles Burnham,

Esquire, to charles@burnhamgorokhov.com, and Robert A. Destro, Esquire, to

Robert.destro@protonmail.com.


                                            Hamilton P. Fox, III
                                            ______________________________
                                            Hamilton P. Fox, III




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